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                     UNITED STATES DISTRICT COURT

                 SOUTHERN DISTRICT OF GEORGIA

                          SAVANNAH DIVISIO N



KENNETH SANDERS, )

      Petitioner ,

v.     )      Case                     No . CV407-32
                                        [Underlying CR495-123]
UNITED STATES OF AMERICA,          )

      Respondent .



                     REPORT AND RECOMMENDATIO N

      Movant has filed a motion to vacate, set aside, or correct his federal

prison sentence pursuant to 28 U .S .C. § 2255. For the following reasons,

the motion should be DISMISSED .

      Movant previously filed a "Judicial Notice" on August 12, 2004, which

the Court construed as a §2255 motion . Doc . 897 . The Court issued an

Order denying the motion on September 7, 2004 . Doc . 900 . Since the

denial of that motion, movant has filed a motion to review his sentence,

which the Court again construed as a § 2255 motion and denied as

successive . Docs . 918, 920 .
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      According to the Antiterrorism and Effective Death Penalty Act of

1996, Pub . L . 104-132, Stat . 1214, "before a second or successive application

permitted by [§ 2255] is filed in the district court, the applicant shall move

in the appropriate court of appeals for an order authorizing the district

court to consider the application ." 28 U.S .C. § 2244(b)(3)(A) ; see 28 U .S .C .

§ 2255 (cross-referencing § 2244 certification requirement) .

      The Seventh Circuit has held that this provision "is an allocation of

subject-matter jurisdiction to the court of appeals . A district court must

dismiss a second or successive petition, without awaiting any response from

the government, unless the court of appeals has given approval for its

filing." Nunez v . United States , 96 F. 3d 990, 991 (7th Cir . 1996) (emphasis

in original) . The Eleventh Circuit has reached the same result . Hill v.

Hopper, 112 F.3d 1088, 1089 (11th Cir. 1997) (finding district court lacked

jurisdiction to consider second § 2254 petition) ; In re Medina , 109 F.3d

1556 (11th Cir. 1997) 1561 (holding district court properly denied

successive petition because movant neglected to obtain certificate from

federal appellate court authorizing consideration of motion) .

      Because movant has already filed under § 2255 and has failed t o


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provide certification from the Eleventh Circuit authorizing this Court to

consider this motion, it is recommended that movant's latest § 2255 motion

be DISMISSED as successive .

        SO REPORTED AND RECOMMENDED this 3day of April ,

2007.

                                          NITED DATES MAGISTRATE JUDGE
                                         SOUTHERN DISTRICT OF GEORGIA




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